([KLELWG
                                              Exhibit G

        Justifications for including those persons and entities on the list of search terms

Name                   Contact information                   Relationship

1. Prateek Gupta       Address(es):                          First Defendant in the English Proceedings.
                          • K01, Palm Jumeirah, Dubai.
                          • Floor 11, Platinum Tower. JLT,
                              Dubai.

                       Email address(es):
                           • pg@udgroup.ae
2. UIL (Singapore)     Incorporated in Singapore.            Second Defendant in the English
   Pte. Ltd.                                                 Proceedings.
                       Address(es):
                          • 160 Robinson Road, #13-07
                              Spore Business Federation
                              CTR Singapore

                       Email address(es):
                           • girdhar@uilsg.com
                           • yimei@uil.com
                           • operations@uilsg.com
3. UIL Malaysia Ltd.   Incorporated in Malaysia.             Third Defendant in the English
                                                             Proceedings.
                       Address(es):
                          • Brumby Centre Lot 42, Jalan
                              Muhibbah 87000, Federal
                              Territories of Labuan,
                              Malaysia

                       Email address(es):
                           • alam.ansari@uilmy.com
                           • girdhar@uilsg.com
4. TMT Metals AG,      Incorporated in Switzerland.          Fourth Defendant in the English
   Zug                                                       Proceedings.
                       Address(es):
                          • Baarerstrasse 53 Zug CH-
                              6300, Switzerland

                       Email address(es):
                           • ops@tmt-metals.com
5. TMT Metals (UK)     Incorporated in the U.K.              Fifth Defendant in the English
   Ltd                                                       Proceedings.
                       Address(es):
                          • Quantum Offices, Mountview
                              House, 202-212 High Road,
                              Ilford, England, IG1 1QB

                       Email address(es):
                         • ops@tmt-metals.com
                         • manish.parmar@tmt-
                              metals.com
                         • basemetals@tmt-metals.com
                         • andy.wang@tmt-metals.com
                         • amir.majdancic@tmt-
                              metals.com
                         • shivkumar@tmt-metals.com

6. Spring Metal        Incorporated in Malaysia.             Sixth Defendant in the English
   Limited                                                   Proceedings.
                       Address(es):
                          • Unit No. 3A-16, Level 3A
                              Labuan Times Square Jalan
                              Merdeka 87000, Federal

                                                    1
    Name                       Contact information                            Relationship

                                        Territories of Labuan,
                                        Malaysia

                               Email address(es):
                                   • Trader@springmetalltd.com
    7. Mine Craft Limited      Incorporated in Hong Kong.                     Seventh Defendant in the English
                                                                              Proceedings.
                               Address(es):
                                  • Suite 605, 6/5 China
                                      Insurance Group Building
                                      141 Des Voeux Road Central
                                      Hong Kong

                               Email address(es):
                                   • dgm@minecraftltd.com
    8. New Alloys              Incorporated in Singapore.                     Eighth Defendant in the English
       Trading Pte. Ltd.                                                      Proceedings.
                               Address(es):
                                  • 1, Magazine Road, 04-11,
                                      Central Mall, Singapore
                                      059567, Singapore

                               Email address(es):
                                  • Kishor.sebastian@udgroup.ae
                                  • operations@newalloys.com
    9. Ginni Gupta             Address(es):                                   Wife of the First Defendant and subject to
                                  • Villa 1, Frond K, Palm                    an English freezing order over certain
                                      Jumeirah, UAE                           assets dated 19 May 2023

                               Email address(es):
                                   • Ginni@udgroup.ae
    10. Pprime Ltd             Incorporated in the UAE.                       According to Companies House (the
        (Pprime)                                                              official company register in England) 1 and
        (formerly named        Address(es):                                   Endole (a business information resource), 2
        UD Trading and            • Floor 11, Platinum Tower, JLT,            the First Defendant is the sole
        Holding Limited)              Dubai                                   controller/shareholder of Pprime.
                                  • Lob 16, Office No 133 1st
                                      Floor, PO Box 16952, Jebel
                                      Ali, UAE

                               Email address(es):
                                   • pg@udgroup.ae
    11. Vadox Corp             Incorporated in the BVI.                       Based on a judgment handed down by the
        (Vadox)                                                               Ontario Court in 2021, 3 Vadox is a
                               Address(es):                                   subsidiary of Pprime Ltd, which, as stated
                                  • Unknown                                   at 10 above, is owned by the First
                                                                              Defendant.
                               Email address(es):
                                   • Unknown
    12. Vision                 Incorporated in the UAE.                       According to an article in LexPress (a
        Investments Ltd                                                       Mauritian newspaper publication), 4 Ginni
        (VIL) (formerly        Email address(es):                             Gupta is the 100% owner of VIL.
        named GG                 • Unknown
        Property Holdings
        Ltd)

1
  PPRIME LIMITED persons with signiﬁcant control - Find and update company information - GOV.UK (https://ﬁnd-and-
update.company-information.service.gov.uk/company/OE014510/persons-with-signiﬁcant-control)
2
  Pprime Limited - Company Proﬁle - Endole (https://open.endole.co.uk/insight/company/OE014510-pprime-limited)
3
  UD Trading Group Holding PTE. Limited v. TransAsia Private Capital Limited, 2021 ONCA279
(https://www.ontariocourts.ca/decisions/2021/2021ONCA0279.htm)
4
  Ginni Gupta's asset freeze: is the state supporting the Silver Bank? (https://lexpress.mu/s/article/423001/gel-avoirs-ginni-
gupta-letat-est-il-en-train-soutenir-silver-bank)
                                                                 2
    Name                       Contact information                            Relationship

    13. UD Trading Group       Incorporated in Singapore.                     According to the audited accounts of UD
        Holding Pte Ltd                                                       Group for the financial year ended 31
        (UD Group)             Address(es):                                   March 2020, Pprime (which, as stated at
                                  • Unknown                                   10 above, is owned by the First
                                                                              Defendant) is the holding corporation of
                               Email address(es):                             UD Group.
                                   • pg@udgroup.ae
    14. UIL Commodities        Incorporated in the UAE.                       According to the audited accounts of UD
        DMCC (UIL                                                             Group for the financial year ended 31
        Commodities)           Address(es):                                   March 2020, UIL Commodities is wholly
                                  • Unit No. 1101, Plot NO. JlT-              owned by UD Group (which, as stated at
                                      PH1-12, Platinum Tower,                 13 above, is owned by Pprime, which is
                                      119975 Jumeirah Lake                    owned by the First Defendant).
                                      Towers, Dubai

                               Email address(es):
                                   • pg@udgroup.ae
    15. Silver Star – SPC      Incorporated in the Cayman Islands.            According to an article in LexPress (a
                               Director: Ridwan Mamode Saib.                  Mauritian newspaper publication), 5 Ginni
                                                                              Gupta and the Eighth Defendant are
                               Address(es):                                   shareholders in Silver Star SPC.
                                  • Unknown

                               Email address(es):
                                   • Unknown
    16. Silvernova Ltd         Incorporated in Mauritius.                     According to an article in LexPress (a
                               Director: Ridwan Mamode Saib.                  Mauritian newspaper publication), 6 Ginni
                                                                              Gupta and the Eighth Defendant indirectly
                               Address(es):                                   hold an interest in Silvernova Ltd.
                                  • Unknown

                               Email address(es):
                                   • Unknown
    17. TMT Metals             Incorporated in the UK.                        According to filings at Companies House,
        Holdings Ltd                                                          the First Defendant is a person with
        (TMT Holdings)         Address(es):                                   significant control over TMT Holdings and
                                  • C/O PKF GM, 3rd Floor One                 holds more than 50% (but less than 75%)
                                      Park Row, Leeds, LS1 5HN                of the shares and voting rights.

                               Email address(es):
                                   • Unknown
    18. Hangji Global Ltd      Incorporated in the BVI.                       The First Defendant appears to have an
        (Hangji Global)                                                       interest in Hangji Global, based on the fact
                               Address(es):                                   that he offered shares in Hangji Global to
                                  • Unknown                                   both Trafigura and, according to separate
                                                                              court proceedings, as security to Rutmet,
                               Email address(es):                             Inc. 7
                                  • info@hangjiglobal.com
    19. Arvind Prasad          Address(es):                                   Known close associate of the First
                                  • JLT, Al Seef Tower 3                      Defendant:

                               Email address(es):                             - He is the Managing Director / CEO of
                                 • arvindpd@hotmail.com                       Ushdev International Limited (of which the
                                 • sachinneg@gmail.com                        First Defendant is or was at all material
                                 • ap@udgroup.ae                              times believed to be the UBO and/or
                                                                              controller).

5
  Ginni Gupta's asset freeze: is the state supporting the Silver Bank? (https://lexpress.mu/s/article/423001/gel-avoirs-ginni-
gupta-letat-est-il-en-train-soutenir-silver-bank)
6
  Ginni Gupta's asset freeze: is the state supporting the Silver Bank? (https://lexpress.mu/s/article/423001/gel-avoirs-ginni-
gupta-letat-est-il-en-train-soutenir-silver-bank)
7
  UD Trading Group Holding PTE. Limited v. TransAsia Private Capital Limited, 2021 ONCA 279
(https://www.ontariocourts.ca/decisions/2021/2021ONCA0279.htm)
                                                                 3
Name                  Contact information         Relationship


                                                  - He is an advisor to the UD Group (for
                                                  which, as explained at 13 above, the First
                                                  Defendant is the UBO and/or controller).

                                                  - He is a disclosure custodian for the First
                                                  to Fifth Defendants in the English
                                                  proceedings.

20. Girdhar Rathi     Address(es):                Known close associate of the First
                         • Unknown                Defendant:

                      Email address(es):          - He is the former Head of Trading at the
                        • girdhar@uilsg.com       Second Defendant and the UD Group (for
                                                  which, as explained at 13 above, the First
                                                  Defendant is the UBO and/or controller).

                                                  - He is a disclosure custodian for the First
                                                  to Fifth Defendants in the English
                                                  proceedings.

21. Vipul Choudhari   Address(es):                Known close associate of the First
                         • Unknown                Defendant:

                      Email address(es):          - He is one of only two directors of
                        • vipul@udgroup.ae        Hangji Global (in which, as explained at 18
                                                  above, the First Defendant is believed to
                                                  have an interest).

                                                  - He is a disclosure custodian for the First
                                                  to Fifth Defendants in the English
                                                  proceedings.




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